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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
DRINKER BIDDLE & REATH LLP
One Logan Square
18th and Cherry Streets
Philadelphia, Pennsylvania 19103
(215) 988-2700
Bonnie A. Barnett (BB 1196)
Deborah L. Shuff (DS 9470)
David B. Aaronson (DA 8387)
Attorneys for Generator Defendants

In Re:                                                Case No.: 08-14631

Shapes/Arch Holdings L.L.C.,                          Hearing Date: July 1, 2008
Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C., and
Ultra L.L.C.                                          Judge: Hon. Gloria M. Burns

                Debtors



               ORDER VACATING AUTOMATIC STAY OF 11 U.S.C. § 362

         The relief set forth on the following page is hereby ORDERED AND GRANTED.
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       Upon consideration of the Motion of the Generator Defendants for Relief from the

Automatic Stay to Permit Dismissal of Debtors From Joint Defense Group (the “Motion”), and

after considering any response thereto, it is hereby

       ORDERED that the automatic stay of Bankruptcy Code § 362(a) is modified to permit

dismissal of the Debtors from the Joint Defense Group, as set forth in the Motion.
